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                           EXHIBIT A
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                                            SUPERIOR COURT OF CALIFORNtA
            10                                 COUNTY OOF LaS ANOELES
            If
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           !3     iVlARYNA PYI.YPCHUK,                         Case ATo.: oc 7 tv 8 7
            14                 Plaiutitli
            is                                                 OOMPLAINT FOR DAMAGLS;
            16                                                 VIOLATIOAT OF T8E FAIR
                                                               CREDIT REPORTING ACT;
            17EQUIFAX.IldFORMA'fzON
              SER'VICES, LLC; DOfiS t TH[iOUGH DEIVIAND FOR JXJRY
           18 109 INCLUSNE,
           19
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           21                  PlaindM bbqw 1'ylyPchuk C`PlaiwiWI, on behalf
                                                                         hereelf,
                                                                             of,
           22     through the undersigned attorney8, files ti>tis ComFl~tt ag,amst Equtfax     ~~~
           23                                                                                  a. .

                  Information Setvices, U~C ("Equifax-) and DOES 1 ttuaugh 10 an                      ;3
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           as foltows:                                                                       " 4L ~
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           28       CoMPU1nVr r'4R DAMAQ6s; vlwl.p,TM (F THB RAfR GtBaIT U""lArO AC'g nEulnMa 1t0a
                                                         JURY -1
                                                                                                 C)
Case 2:15-cv-03936-JFW-GJS Document 1-1 Filed 05/26/15 Page 4 of 8 Page ID #:8




                                    A. JURISDICTION

        1. This is an action for damages brought by an individual consumer against the

        defendants for viotations of the Fair Credit Reporang Act ("FCRA"),15 U.S.C. §

       11681 et seq., as amended.

       12.Jurisdiction of this Court arises under 15 U.S.C. § 1681 p.

       13.Defendant Equifax is a business entity that regularly conducts business

       ithroughout every state and county in the United States and is a"consumer
  Io

       I reporting agency," as defined in 15 U.S.C. § 1681 and regularly engaged in the
  12
       business of assembling, evaluating and disbursing information regarding
  13

  la consumers for the purpose of furnishing consumer reports to third parties, as
  ls (defined in 15 U.S.C. § 1681(d).
  16
                                      B.VENUE
  17

  ls      The venue is proper in this Court based on the following:
  19
       I a. The violations of the FCRA alleged below occunred and/or were committed in
  20

  21
       I Los Angeles County, California, in the jurisdiction of this CourL
  22   1 b. At all times materiai hereto, defendants were and continue to be engaged in the
  23
       I business andlor activity of reporting under the FCRA in Los Angeles County,
  24

  2s   I California.
  26

  27

  28     COMPLAINT FOR DAMAGES; VIOLATION OF THE FA1R CREDIT REPORTiNG ACT; DEMAND FOR
                                              JURY -2
Case 2:15-cv-03936-JFW-GJS Document 1-1 Filed 05/26/15 Page 5 of 8 Page ID #:9




    ~   C. At all times material hereto, plaintiff was an individual residing in the State of
   2
        California County of Los Angeles and is a"consumer" as that term is defined by
   3

   4 15 U.S.C. § 1681 et seq. Plaintiff is allege,d to have incurred a financial obligation

   s    for primarily personal, family or household purposes.
   6
   7    5. Defendants DOES 1 through 10, inclusive, are sued herein under fictitious

   s names. Their true names and capacities are unknown to plaintiff. When their true
   9
        names and capacities are ascertained, plaintiff will amend this complaint by
  io
  II    inserting their true names and capacities herein. Plaintiff is informed and believes

  12    and thereon alleges, that each of the fictitiously named defendants is responsible in
  13
  14    some manner for the occurrences alleged in this complaint and that plaintiffs

  15    damages as alleged in this complaint were proximately caused by such defendants.
  16
        6. Plaintiff is informed and believes and thereon alleges that at all times in this
  »
  i s complaint, each defendant was the agent of each of the remaining defendants, and

  19    in doing the things hereinafter alleged, was acting within the course and scope of
  20
  21    such agency and with the permission and consent of all other co-defendants.

  22    7. On or about February 17, 2015 and Marrch 3, 2015, letters were sent to defendant
  23
        Equifax stating that plaintiff was a victim of identity thett and requesting that
  24

  2s fiaudulent items with HSBC Bank, City National Bank, Bank Of The West, U.S.
  26
        Bank and 1s` National Bank Of Omaha be blocked from her credit file .
  2'7

  28      COMPLAINT FOR DAMAGES; VIOLATION OF THE FA1R CREDIT REPORTING ACT; DEMAND FOR
                                            JURY - 3
Case 2:15-cv-03936-JFW-GJS Document 1-1 Filed 05/26/15 Page 6 of 8 Page ID #:10




           18. After receiving plaintifFs dispute letters, defendant Equifax failed to block the
    21 1
           I fraudulent information from plaintiffs credit file.
    3

    4      9. Defendant Equifax has continued to report the fraudulent information on
    S
           plaintiffs credit file as described above in this complaint.
    6

   7
           10.Plaintiff has been damaged because the misleading information and/or error
   8
           provided by defendants has impaired plaintiffs ability to build her credit
   9
           worthiness and to obtain new financial lending.
   10

   11      11.As a direct result of said errors, defendants have misinfonmed third parties as
   12
           the status of her creditworthiness and have reflected false credit information
   13

   14
           other credit infonmation which is incomect, inaccurate and misleading.
   15                                  FIRST CAUSE OF ACTION
   16
                       VIOLATION OF THE FCRA,15 U.S.C. § 1681 ET SEQ.
   17
                                  BY ALL DEFENDANTS
   I8
           112. Plaintiff incorporates paragraphs 1 through 11 as though fully stated herein.
   19

   20      13. Defendant Equifax has willfully and/or negligently violated the provisions of
   21
           Ithe FCRA in the following respects:
   22

   23      Ia. By willfully and/or negligently failing to follow reasonable procedures to limit ,
   24
           I the furnishing of consumer reports to the purposes listed under section 1681 b of
   2s
           i the FCRA, as required by 15 USC Section 1681 e(a);
   26

   27

   28        COMPLAINT FOR DAMAGES; VIOLATION OF'PHE FA1R CREDiT REPORTING AC'r; DEMAND FOR
                                               JURY -4
Case 2:15-cv-03936-JFW-GJS Document 1-1 Filed 05/26/15 Page 7 of 8 Page ID #:11




    1
        I b. By willfully and/or negligently failing to comply with the requirements of 15
    2
        IUSC Section 1681b;
    3

    4   c. By willfully and/or negligently failing to follow reasonable procedures to assure
    5
        maximum possible accuracy of the inforTnation in reports conceniing plaintiff, as
    6

    7   Irequired by 15 USC Section 1681e(b);
    s I d. By willfully and/or negligently failing to comply with the requirements of 15
    9
        I USC Section 1681 g;
   lo

   11   I e. By willfully and/or negligently failing to comply with the requirements of 15
   12
        I USC Section 1681 i; and
   13

   14
        f. By willfully and/or negligently failing to comply with the requirements of 15
   Is   I USC 1681c-2.
   16
               WHEREFORE, plaintiff prays that judgment be entered against defendants ~
   17
   ls       the following relief:
   19
               1. For an award of actual damages;
   20
   21
               2. For an award of statutory damages;
   u           3. For an award of punitive damages;
   23
               4. For an award of the costs of litigation and reasonable attorney's fees
   24
   25   pursuant to 15 U.S.C. §§ 1681n and 1681o; and
   26
               5. For a final order directing that defendants immediately delete all of the
   29

   2s     COMPLAiNT FOR DAMAGES; VIOLATION OF THE FAIR CREDIT REPORT[NG ACT; DEMAND FOR
                                              1URY - 5
Case 2:15-cv-03936-JFW-GJS Document 1-1 Filed 05/26/15 Page 8 of 8 Page ID #:12




    1
        inaccurate information from plaintiff's credit reports and files and cease reporting li
    2
        the inaccurate information to any and all persons and entities to whom they report ~
    3

    4   I consumer credit information.
    s
                                 JURY TRIAL D~MAND
    6

    7         Plaintiff is entitled to and hereby demands a Trial by Jury .
    s   Dated: April 17, 2015        LAW OFFICES OF HOWARD D. SILVER
   9

   10

   11                                    By: 14L,~  '        ~ A —
                                            Howard D. Silver
   12                                       Attomeys for Maryna Pylypchuk
   13
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   27
   28     COMPLAINT FOR DAMAGES;.VIOE.ATION OF THE FAIR CREDIT REPORTMG ACT; DBMAND FOR
                                            JURY - 6
